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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

                                             §
 JACOB SMITH, Individually and On            §
 Behalf of All Others Similarly Situated,    §
                                             §
               Plaintiff,                    §
                                             §           No. ___________________
 v.                                          §
                                             §
 EXPRESS ENERGY SERVICES                     §
 OPERATING, LP,                              §
                                             §
               Defendant.                    §
                                             §

                            PLAINTIFF’S ORIGINAL COMPLAINT

TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW Plaintiff Jacob Smith (“Smith” or “Plaintiff”) bringing this collective

action and lawsuit on behalf of himself and all other similarly situated employees to recover

unpaid overtime wages from Defendant Express Energy Services Operating, LP (referred to

as “Defendant” or “Express Energy”). In support thereof, he would respectfully show the

Court as follows:

                                     I. Nature of Suit

       1.     Plaintiff’s claims arise under the Fair Labor Standards Act of 1938, 29 U.S.C.

§§ 201-219 (“FLSA”).

       2.     The FLSA was enacted to eliminate “labor conditions detrimental to the

maintenance of the minimum standard of living necessary for health, efficiency and general
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well-being of workers.” 29 U.S.C. § 202(a). To achieve its humanitarian goals, the FLSA

defines appropriate pay deductions and sets overtime pay, minimum wage, and recordkeeping

requirements for covered employers. 29 U.S.C. §§ 206(a), 207(a), 211(c).

       3.     Defendant violated the FLSA by employing Plaintiff and other similarly

situated nonexempt employees “for a workweek longer than forty hours [but refusing to

compensate them] for [their] employment in excess of [forty] hours … at a rate not less than

one and one-half times the regular rate at which [they are or were] employed.” 29 U.S.C. §

207(a)(1).

       4.     Defendant violated the FLSA by failing to maintain accurate time and pay

records for Plaintiff and other similarly situated nonexempt employees as required by 29

U.S.C. § 211(c) and 29 C.F.R. pt. 516.

       5.     Plaintiff brings this collective action under 29 U.S.C. § 216(b) on behalf of

himself and all other similarly situated employees to recover unpaid overtime wages.

                                  II. Jurisdiction & Venue

       6.     The Court has jurisdiction of this action pursuant to 28 U.S.C. § 1331 and 29

U.S.C. § 216(b) because it arises under the FLSA, a federal statute.

       7.     Venue is proper in this district and division pursuant to 28 U.S.C. §§

1391(b)(1), (2) because Defendant resides in the Houston Division of the Southern District of

Texas and/or a substantial part of the events or omissions giving rise to Plaintiff’s claims

occurred in the Houston Division of the Southern District of Texas.




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                                          III. Parties

       8.      Plaintiff Jacob Smith is an individual who resides in Midland, Texas and who

has been employed by Defendant within the last three years.

       9.      Defendant Express Energy Services Operating, LP is a Texas limited

partnership that may be served with process by serving its registered agent:

                               Capitol Corporate Services, Inc.
                                206 E. 9th Street, Suite 1300
                                    Austin, Texas 78701

Alternatively, if the registered agent of Express Energy cannot with reasonable diligence be

found at the company’s registered office, Express Energy may be served with process by

serving the Texas Secretary of State pursuant to TEX. BUS. ORG. CODE § 5.251 and TEX. CIV.

PRAC. & REM. CODE § 17.026.

       10.     Whenever it is alleged that Defendant committed any act or omission, it is

meant that the company’s officers, directors, vice-principals, agents, servants or employees

committed such act or omission and that, at the time such act or omission was committed, it

was done with the full authorization, ratification or approval of Defendant or was done in the

routine and normal course and scope of employment of the company’s officers, directors, vice-

principals, agents, servants or employees.

                                             IV. Facts

       11.     Express Energy is an oilfield services company; it does business in the territorial

jurisdiction of this Court.




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          12.   Defendant has been employed Smith as a floor hand from approximately

February 2019 to the present at their Odessa location: 2258 N. Mercury, Odessa, TX 79763

(“Odessa location”).

          13.   Throughout Plaintiff’s employment with Defendants, he was paid on an hourly

basis.

          14.   During Plaintiff’s employment with Express Energy, he regularly worked in

excess of forty hour per week.

          15.   Express Energy knew or reasonably should have known that Plaintiffs worked

in excess of forty hours per week.

          16.   Express Energy did not pay Plaintiff the entirety of his regular wages or his

overtime “at a rate not less than one and one-half times the regular rate at which [he was]

employed.” 29 U.S.C. § 207(a)(1).

          17.   For example, Express Energy paid Plaintiff a flat fee for travel and load time

and did not otherwise count that time toward its overtime obligation.

          18.   Express Energy knew or reasonably should have known that Plaintiff was not

exempt from the overtime provisions of the FLSA.

          19.   Plaintiff’s primary duties were nonexempt.

          20.   Plaintiff’s primary duties did not include office or nonmanual work.

          21.   Plaintiff’s primary duties were not directly related to the management or

general business operations of Defendant or its customers.




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       22.     Plaintiff’s duties did not differ substantially from the duties of traditionally

nonexempt hourly workers.

       23.     Plaintiff did not exercise a meaningful degree of independent discretion with

respect to the exercise of his duties.

       24.     Plaintiff did not have the discretion or authority to make any decisions with

respect to matters of significance.

       25.     Instead, Plaintiff was required to follow the policies, practices and procedures

set by Defendant.

       26.     Plaintiff did not have any independent authority to deviate from these policies,

practices and procedures.

       27.     During Plaintiff’s employment with Express Energy, he was engaged in

commerce or the production of goods for commerce.

       28.     During Plaintiff’s employment with Express Energy, the company had

employees engaged in commerce or in the production of goods for commerce or had employees

handling, selling or otherwise working on goods or materials that had been moved in or

produced for commerce by others.

       29.     During Plaintiff’s employment with Express Energy, the company had an

annual gross volume of sales made or business done of at least $500,000.

       30.     Express Energy failed to maintain accurate time and pay records for Plaintiff as

required by 29 U.S.C. § 211(c) and 29 C.F.R. pt. 516.




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       31.    Express Energy knew or showed a reckless disregard for whether its pay

practices violated the FLSA.

       32.    Express Energy is liable to Plaintiff for his unpaid regular and overtime wages,

liquidated damages and attorney’s fees and costs pursuant to 29 U.S.C. § 216(b).

       33.    All employees employed by Express Energy that were subject to this pay policy

are similarly situated to Plaintiff because they (1) were subject to the same uniform pay policy

or practice; (2) were in traditionally non-exempt positions; (3) regularly worked in excess of

forty hours per week; (4) are not paid the entirety of their overtime for the hours they work

in excess of forty per week as required by 29 U.S.C. § 207(a)(1) and (5) are entitled to recover

their unpaid overtime wages, liquidated damages and attorneys’ fees and costs from Defendant

pursuant to 29 U.S.C. § 216(b).

                                     V. Count One—
                 Failure to Pay Overtime in Violation of 29 U.S.C. § 207(a)

       34.    Plaintiff adopts by reference all of the facts set forth above. See, FED. R. CIV.

P. 10(c).

       35.    During Plaintiff’s employment with Express Energy, he was a nonexempt

employee.

       36.    As a nonexempt employee, Express Energy was legally obligated to pay Plaintiff

“at a rate not less than one and one-half times the regular rate at which [he was] employed[]”

for the hours that they worked over forty in a workweek. 29 U.S.C. § 207(a)(1).




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         37.       Express Energy did not pay Plaintiff the entirety of his regular wages or

overtime as required by 29 U.S.C. § 207(a)(1) for the hours he worked in excess of forty per

week.

         38.       Instead, Express Energy paid Plaintiff only a portion of his regular and overtime

hours each workweek.

         39.       In other words, Express Energy paid Plaintiff part of his regular and overtime

hours at a rate less than one and one-half times the regular rate at which he was employed in

violation of the FLSA.

         40.       If Express Energy classified Plaintiff as exempt from the overtime requirements

of the FLSA, he was misclassified because no exemption excuses the company’s noncompliance

with the overtime requirements of the FLSA.

         41.       Express Energy knew or showed a reckless disregard for whether its pay

practices violated the overtime requirements of the FLSA; in other words, Express Energy

willfully violated the overtime requirements of the FLSA.

                                         VI. Count Two—
               Failure to Maintain Accurate Records in Violation of 29 U.S.C. § 211(c)

         42.       Plaintiff adopts by reference all of the facts set forth above. See, Fed. R. Civ. P.

10(c).

         43.       The FLSA requires employers to keep accurate records of hours worked by and

wages paid to nonexempt employees. 29 U.S.C. § 211(c); 29 C.F.R. pt. 516.




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       44.    In addition to the pay violations of the FLSA described above, Express Energy

also failed to keep proper time and pay records as required by the FLSA.

                                    VII. Count Three—
                                Collective Action Allegations

       45.    Plaintiff adopts by reference all of the facts set forth above. See, FED. R. CIV.

P. 10(c).

       46.    On information and belief, other employees have been victimized by Express

Energy’s violations of the FLSA identified above.

       47.    These employees are similarly situated to Plaintiff because, during the relevant

time period, they were subject to the same pay practice or policy, was in a traditionally

nonexempt position, and were compensated in a similar manner and were denied overtime

wages at one and one-half times his regular rate for hours worked over forty in a workweek.

       48.    Express Energy’s policy or practice of failing to pay the entirety of their

employees’ overtime compensation is a generally applicable policy or practice and does not

depend on the personal circumstances or position of the putative class members.

       49.    Since, on information and belief, Plaintiff’s experiences are typical of the

experiences of the putative class members, collective action treatment is appropriate.

       50.    All employees of Express Energy, regardless of their rates of pay, who were paid

at a rate less than one and one-half times the regular rates at which they were employed for all

the hours that they worked over forty in a workweek are similarly situated. Although the issue




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of damages may be individual in character, there is no detraction from the common nucleus of

liability facts. The class is therefore properly defined as:

                       All hourly, non-exempt employees, regardless of
                       position, that were not paid at one and one-half
                       times their regular rate for hours worked over forty
                       in a workweek.

        51.    Express Energy is liable to Plaintiff and the members of the putative class for

the difference between what it actually paid them and what it was legally obligated to pay

them.

        52.    Because Express Energy knew and/or showed a reckless disregard for whether

its pay practices violated the FLSA, the company owes Plaintiff and the members of the

putative class their unpaid regular and overtime wages for at least the last three years.

        53.    Express Energy is liable to Plaintiff and the members of the putative class in an

amount equal to their unpaid overtime wages as liquidated damages.

        54.    Express Energy is liable to Plaintiff and the members of the putative classes for

their reasonable attorneys’ fees and costs.

        55.    Plaintiff has retained counsel who are well versed in FLSA collective action

litigation and who are prepared to litigate this matter vigorously on his behalf and on behalf

of all other putative class members.

                                           VII. Prayer

        56.    Plaintiff prays for the following relief:

               a. an order allowing this action to proceed as a collective action under 29 U.S.C
                  § 216(b);


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       b. judgment awarding Plaintiff and the members of the putative class all
          unpaid overtime compensation, liquidated damages, attorneys’ fees and
          costs;

       c. post judgment interest at the applicable rate;

       d. incentive awards for any class representative(s); and

       e. all such other and further relief to which Plaintiff and the putative class may
          show themselves to be justly entitled.




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                                         Respectfully submitted,

                                         MOORE & ASSOCIATES


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